
PER CURIAM.
We have for review Reader v. State, 586 So.2d 71, 72 (Fla. 5th DCA 1991), in which the Fifth District Court of Appeal certified the following question of great public importance:
DO FLORIDA’S UNIFORM SENTENCING GUIDELINES REQUIRE THAT LEGAL CONSTRAINT POINTS BE ASSESSED FOR EACH OFFENSE COMMITTED WHILE UNDER LEGAL CONSTRAINT?
We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution. We answered this same question in the negative in Flowers v. State, 586 So.2d 1058 (Fla.1991).
Accordingly, we quash the decision below and remand this case for reconsideration consistent with our opinion in Flowers.
It is so ordered.
SHAW, C.J., and OVERTON, McDonald, barkett, grimes, KOGAN and HARDING, JJ., concur.
